      Case 4:23-cv-00408-SMR-SBJ Document 27 Filed 10/07/24 Page 1 of 4




                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF IOWA
                              CENTRAL DIVISION


 NOAH PETERSEN,
                      Plaintiff,               Civil Action No.: 4:23-cv-00408-SMR-SBJ


 v.
                                                  PLAINTIFF’S MOTION FOR
                                              SUMMARY JUDGMENT ON LIABILITY
 CITY OF NEWTON, IOWA, et al.,
                      Defendants.




       COMES NOW Plaintiff Noah Petersen and moves for summary judgment on

liability, stating as follows:

       1.     Summary Judgment on Liability is appropriate on Plaintiff’s nine

claims against three defendants, the City of Newton, Iowa, former Newton Mayor

Michael Hansen, and Newton Chief of Police Rob Burdess.

       2.     On October 3, 2024, Defendants retaliated against Noah for the

comments he made at a Newton city council meeting. Claim I (against Mayor Hansen

and Chief Burdess) and Claim III (against Newton) are First and Fourteenth

Amendment claims related to that meeting. Claim VI is a Fourth and Fourteenth

Amendment claim (against all Defendants) related to that meeting. And Claim VIII

is an Equal Protection Claim (against all Defendants) related to that meeting.

       3.     On October 24, 2024, Defendants retaliated against Noah, again, for the

comments he made at a Newton city council meeting. Claim II (against Mayor Hansen


                                          1
     Case 4:23-cv-00408-SMR-SBJ Document 27 Filed 10/07/24 Page 2 of 4




and Chief Burdess) and Claim IV (against Newton) are First and Fourteenth

Amendment claims related to that meeting. Claim VII is a Fourth and Fourteenth

Amendment claim (against all Defendants) related to that meeting. And Claim IX is

an Equal Protection Claim (against all Defendants) related to that meeting.

      4.     For both sets of claims, Defendants alleged that they were entitled to

take actions against Noah because he allegedly violated the City’s rule against

making “derogatory statements or comments about any individual” at city council

meetings (the “Derogatory Comments Rule”).

      5.     Claim V (against all Defendants) challenges the constitutionality of the

Derogatory Comments Rule, both on its face and as applied to Plaintiff by

Defendants, under the First and Fourteenth Amendments.

      6.     The Derogatory Comments Rule—and Defendants’ use of that rule to

silence, arrest, jail, and criminally charge Noah—was clearly unconstitutional under

decades of well-established First Amendment doctrine.

      7.     As a result, there are no disputed material facts and Plaintiff is entitled

to judgment as a matter of law on all nine of his claims.

      8.     Liability has been established as a matter of law; only the determination

of damages should remain for trial.

       WHEREFORE, Plaintiff Noah Petersen respectfully requests that the Court

grant summary judgment on liability in favor of Plaintiff and against Defendants on

all Counts (I through IX).




                                           2
     Case 4:23-cv-00408-SMR-SBJ Document 27 Filed 10/07/24 Page 3 of 4




Date: October 7, 2024.                   Respectfully submitted,

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                                     3
      Case 4:23-cv-00408-SMR-SBJ Document 27 Filed 10/07/24 Page 4 of 4




                          CERTIFICATE OF SERVICE

      I hereby certify that, on October 7, 2024, I electronically filed the foregoing

document with the Clerk of Court using the CM/ECF system, which will send a

notification of such filing to all registered participants identified on the Notice of

Electronic Filing.

                                              /s/ Brian A. Morris
                                              Brian A. Morris




                                          4
